                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:13-00012
                                                      )       Judge Trauger
[2] BRENDA ELISE EDWARDS                              )
                                                      )

                                            ORDER

         The defendant has filed a Motion to Modify Conditions of Release (Docket No. 68), to

which the government has responded in opposition (Docket No. 71). Insufficient justification is

given by the defendant for moving to McAllen, Texas, which is much closer to the United

States-Mexico border than Houston. At the hearing held before this court on April 8, 2013, the

defendant assured the court that she could work from home in Houston and that she used a

camera to monitor the quality of the truckloads of produce shipped in from Mexico. She now

asserts that “on-site inspection of produce is important so that the wholesale customer is satisfied

with the produce that the customer receives.” (Docket No. 68 at 2) She asserts that some of the

growers in McAllen, Texas, where she requests to move, are reluctant to enter into contracts with

her because of the pending criminal charges. If that is the case, the court fails to see how her

move to McAllen, Texas among these reluctant customers would increase her business.

         The court’s willingness to release the defendant over the strenuous objections of the

government was based upon the fact that she represented that she could work from home and

that she would be living in Houston with her husband and her three minor children. The court

cannot approve the Motion to Modify Conditions of Release, and it is, therefore, DENIED.


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    It is so ORDERED.

    ENTER this 23rd day of July 2013.


                                             ________________________________
                                                   ALETA A. TRAUGER
                                                     U.S. District Judge




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